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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY



Harold P. Mintz,
                      Plaintiff,
      v.                                                   Civ. Action No. 10-3937 (KSH)

Semprac Laboratories, et al.
                 Defendants.                                            ORDER


Katharine S. Hayden, U.S.D.J.

           This matter having come before the Court upon its review of the docket; and the docket

 reflecting that this case was removed from the New Jersey Superior Court based upon the federal

 question jurisdiction, Docket No. 1 at 2, Paragraph 2; and the docket reflecting that defendants

 have filed motions to dismiss all claims, including the claims based upon federal statutes, Docket

 Nos. 22 and 24; and the plaintiff having submitted a letter dated August 23, 2010 and a motion

 dated August 27, 2010, stating that he seeks to dismiss and will not re-institute his claims under

 RICO and the Hobbs Act, and seeking remand Docket Nos. 25 and 27; and it therefore appearing

 that he does not oppose the motions to dismiss insofar as they seek to dismiss the federal RICO

 and Hobbs Act claims; and the Court therefore dismissing the federal claims; and although the

 defendants assert that the plaintiff has also brought a claim for criminal bankruptcy fraud, a

 review of the allegations disclosing that the assertion is made in the context of a fraud claim and,

 in any event, federal criminal bankruptcy fraud does not provide a basis for a civil cause of action

 and hence does not provide a claim upon which relief could be granted; and the Court declining

 to exercise supplemental jurisdiction over the state law claims and terminating the remaining

 portions of the motions to dismiss without prejudice to the defendants right to re-file such
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motions to dismiss the state law claims state court; and nothing herein constituting a ruling

concerning the merits of such motions

        IT IS THEREFORE ON THIS 9th day of September, 2010

        ORDERED that defendants' motion to dismiss the plaintiff's RICO and Hobbs Act

Claims [Docket Nos. 22 and 24] is granted in part and the plaintiff's RICO and Hobbs Act claims

are dismissed with prejudice;

        IT IS FURTHER ORDERED that the Court declines to exercise supplemental

jurisdiction over the plaintiff's state law claims and the defendants' motion to dismiss the state

law claims are terminated without prejudice to the defendants' right to file motions to dismiss the

plaintiff's state law claims in state court; and

        IT IS FURTHER ORDERED that the motion to remand [Docket No. 27] is granted and

the case is remanded to the New Jersey Superior Court, Bergen County; and

        IT IS FURTHER ORDERED that this case is closed.




                                                   /s/Katharine S. Hayden
                                                   Hon. Katharine S. Hayden
